Case 8:17-cv-00190-SDM-SPF Document 301 Filed 11/06/20 Page 1 of 2 PageID 12656



                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


     FINANCIAL INFORMATION
     TECHNOLOGIES, LLC,

           Plaintiff,

     v.                                                CASE NO. 8:17-cv-190-T-23SPF

     ICONTROL SYSTEMS, USA, LLC,

           Defendant.
     __________________________________/

                                            ORDER

           A September 15, 2020 order allows iControl to secure a stay under Rule 62,

     Federal Rules of Civil Procedure, “by depositing with the clerk a $6,270,000 bond or

     equivalent security.” (Doc. 291) In lieu of a bond, iControl moves (Doc. 300) for

     approval of an irrevocable letter of credit (Doc. 300-1) for $6,270,000. Also, iControl

     asserts that Fintech opposes iControl’s motion because a letter of credit “would not

     protect Fintech to the same extent as a bond if iControl filed for bankruptcy.”

     (Doc. 300 at 2)

            Although iControl’s letter of credit appears facially adequate to protect

     Fintech’s judgment, Fintech may submit a response in opposition no later than

     NOVEMBER 11, 2020. Poplar Grove Planting & Ref. Co. v. Bache Halsey Stuart, Inc.,

     600 F.2d 1189, 1191 (5th Cir. 1979) (holding that a judgment debtor may deposit a

     security that “furnish[es] equal protection to the judgment creditor”).
Case 8:17-cv-00190-SDM-SPF Document 301 Filed 11/06/20 Page 2 of 2 PageID 12657



           To permit time to resolve iControl’s motion to approve the letter of credit,

     execution and levy are STAYED through NOVEMBER 13, 2020.

           ORDERED in Tampa, Florida, on November 6, 2020.




                                              -2-
